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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION

MARICELA MARIN-SANTIAGO, )
JOSUE GARCIA-GARCIA,        )
DAVID MARIN- JOSE,          )
DIONICIO MARIN-JOSE, MOISES )
SARMIENTO-JOSE, ELIZABETH )
CANALES-CENTENO, SARA       )
CANALES-CENTENO, IBRAGIT )
CORTES-ALMAZA, JESUS        )
GARCIA-CANALES,             )                Civil Action No.: 5:21-CV-00061-
                            )                                   LGW-BWC
    Plaintiffs,             )
                            )
v.                          )
                            )
GUMARA CANELA, DANIEL       )
CANELA, D. CANELA           )
RESOURCES, LLC and ISMAEL   )
PEREZ,                      )
                            )
    Defendants.             )

      ANSWER AND DEFENSES OF DEFENDANT ISMAEL PEREZ


      Now comes Defendant Ismael Perez and states as his Answer to the Amended

Complaint as follows:

                        DEMAND FOR TRIAL BY JURY

      Perez hereby invokes his rights under the Seventh Amendment if the United

States Constitution, Fed. R. Civ. Proc. 38, and any and all statutory entitlements he




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may have with respect to the claims asserted against him in this action and demands

a trial by jury on all issues so triable.

                       I.     PRELIMINARY STATEMENT

       1.     Perez denies the allegations of Paragraph 1 of the Amended Complaint.

       2.     Perez denies the allegations of Paragraph 2 of the Amended Complaint.

       3.     Perez neither admits nor denies the allegations of Paragraph 3 of the

Amended Complaint because he does not know why Plaintiffs would bring this

lawsuit.

       4.     Perez neither admits nor denies the allegations of Paragraph 4 of the

Amended Complaint because he does not know why Plaintiffs would bring this

lawsuit or what they possibly could be seeking from him.

                        II.    JURISDICTION AND VENUE

       5.     Perez denies that this Court has subject matter jurisdiction over this

matter under Article III of the United States Constitution. Perez further denies that

Congress has granted this Court statutory jurisdiction over this matter. Congress

assigned exclusive jurisdiction over the alleged violations of the H-2A regulations

to the United States Department of Labor after investigation by the Wage and Hour

Division. Perez denies that Plaintiffs may evade the Department of Labor’s exclusive

jurisdiction by dressing their alleged H-2A regulatory violations up as purported




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violations of other statutes. This Court lacks either constitutional or statutory

jurisdiction.

      6.        Perez denies that this Court may exercise supplemental jurisdiction

over Plaintiffs’ breach of contract claims. Congress assigned adjudication of such

claims to the exclusive jurisdiction to the United States Department of Labor after

investigation by the Wage and Hour Division. Perez therefore denies that Congress

included these claims within the scope of 28 U.S.C. § 1367.

      7.        Defendant Perez neither admits nor denies that allegation contained in

Paragraph 7 of the Amended Complaint because it states a legal conclusion rather

than making an allegation of fact as required by Federal Rule of Civil Procedure 8.

                                    III.   PARTIES

      8.        Defendant Perez admits that the listed Plaintiffs were, at all times

relevant to this action, lawfully admitted to the United States in accordance with the

requirements of 8 U.S.C. §§ 1101(a)(15)(H)(ii)(A), 1188; the applicable regulations,

and other applicable law.

      9.        Defendant Perez neither admits nor denies the allegation contained in

Paragraph 9 as it contains social commentary rather than making an allegation of

fact as required by Federal Rule of Civil Procedure 8.

      10.       Defendant Perez denies that he employed Plaintiffs, whether in

interstate commerce or otherwise.


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      11.    Defendant Perez denies that he employed Plaintiffs, whether in

interstate commerce or otherwise.

      12.    Defendant Perez denies that he transported Plaintiffs from Mexico to

Georgia or otherwise.

      13.    Defendant Perez admits that certain forms, the authenticity of which

has not been established, are attached to the Amended Complaint.

                          Defendant D. Canela Resources

      14-19.       Defendant Perez neither admits nor denies any of the allegations

contained in Paragraphs 14-19 of the Amended Complaint as they relate only to

another Defendant and he lacks sufficient information to form a belief as to the truth

of the matters alleged.

                 Defendants Gumara Canela and Daniel Canela

      20-26.       Defendant Perez neither admits nor denies any of the allegations

contained in Paragraphs 20-26 of the Amended Complaint as they relate only to

another Defendant and he lacks sufficient information to form a belief as to the truth

of the matters alleged.

                             Defendant Ismael Perez

      27.    Defendant Perez admits that the allegation of Paragraph 27 of the

Amended Complaint.




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        28.      Defendant Perez denies the allegation of Paragraph 28 of the Amended

Complaint as it is untrue.

        29.      Defendant Perez neither admits nor denies the allegation contained in

Paragraph 29 as it contains only a legal conclusion rather than making an allegation

of fact as required by Federal Rule of Civil Procedure 8. To the extent that Paragraph

29 is deemed to present an allegation of fact related to Plaintiffs, it is denied.

        30.      Defendant Perez neither admits nor denies the allegation contained in

Paragraph 30 as it contains only a legal conclusion rather than making an allegation

of fact as required by Federal Rule of Civil Procedure 8. To the extent that Paragraph

30 is deemed to present an allegation of fact related to Plaintiffs, it is denied.

        31.      Defendant Perez denies the allegation of Paragraph 31 of the Amended

Complaint as it is untrue.

  IV.       STATUTORY AND REGULATORY STRUCTURE OF THE H-2A
                            PROGRAM

        38.1 Defendant Perez denies the allegation of Paragraph 38 of the Amended

Complaint to the extent that it implies that a prospective employer of H-2A workers

need only obtain a Department of Labor certification before employing the workers.

Paragraph 38 misstates the certification. 8 U.S.C. 1188(a)(1)(A) & (B) provide:

        A petition to import an alien as an H-2A worker (as defined in
        subsection (i)(2)) may not be approved by the Attorney General unless

        1
                   The paragraph following Paragraph 31 in the Amended Complaint is Paragraph 38. Defendant will
follow Plaintiffs’ numbering system.

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      the petitioner has applied to the Secretary of Labor for a certification
      that—

      (A) there are not sufficient workers who are able, willing, and qualified,
      and who will be available at the time and place needed, to perform the
      labor or services involved in the petition, and

      (B) the employment of the alien in such labor or services will not
      adversely affect the wages and working conditions of workers in
      the United States similarly employed.

      39.    Defendant Perez neither admits nor denies the allegations of Paragraph

39 as the applicable regulations speak for themselves. Defendant Perez denies the

allegations of Paragraph 39 to the extent that the allegations of Paragraph 39 do not

accurately reflect the underlying legal authorities.

      40.    Defendant Perez neither admits nor denies the allegations of Paragraph

40 as the applicable regulations speak for themselves. Defendant Perez denies the

allegations of Paragraph 40 to the extent that the allegations of Paragraph 39 do not

accurately reflect the underlying legal authorities. Defendant Perez admits that the

enforcement of the alleged obligations has been lodged within the Wage and Hour

Division of the United States Department of Labor. See 29 U.S.C. §§ 501.0 et seq.

      41.    Defendant Perez neither admits nor denies the allegations of Paragraph

41 as the applicable regulations speak for themselves. Defendant Perez denies the

allegations of Paragraph 41 to the extent that the allegations of Paragraph 39 do not

accurately reflect the underlying legal authorities. Defendant Perez admits that the



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enforcement of the alleged obligations has been lodged within the Wage and Hour

Division of the United States Department of Labor. See 29 U.S.C. §§ 501.0 et seq.

                    V.       STATEMENT OF ALLEGED FACTS

            Alleged Partnership between Ismael Perez and the Canelas

      32.2 Defendant Perez denies the allegation contained in Paragraph 32 of the

Amended Complaint.

      33.     Defendant Perez denies the allegation contained in Paragraph 33 of the

Amended Complaint.

      34.     Defendant Perez refers Plaintiffs to the official records of the United

States Department of Labor, which speak for themselves.

      35.     Defendant Perez denies the allegation contained in Paragraph 35 of the

Amended Complaint.

                             The Employment Contracts (sic)

      36-48.           Defendant Perez neither admits nor denies any of the allegations

contained in Paragraphs 36-48 of the Amended Complaint as they relate only to

another Defendant and he lacks sufficient information to form a belief as to the truth

of the matters alleged. To the extent that any allegation is directed toward Defendant

Perez, it is denied.




      2
              At this point the Amended Complaint starts numbering paragraphs with Paragraph 32.

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                        Recruitment of Plaintiffs in Mexico

      49.-58.       Defendant Perez denies the allegations of Paragraphs 49-58 of

the Amended Complaint.

      59.    Defendant Perez admits that Plaintiffs speak and understand Spanish.

      60.    Defendant Perez neither admits nor denies the allegation of Paragraph

60 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

                             Pre-Employment Expenses

      61.    Defendant Perez neither admits nor denies the allegation of Paragraph

61 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted. Defendant Perez denies that Plaintiffs came to

work for him.

      62.    Defendant Perez neither admits nor denies the allegation of Paragraph

62 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      63.    Defendant Perez denies the allegation of Paragraph 63 of the Amended

Complaint.

      64.    Defendant Perez denies the allegation of Paragraph 64 of the Amended

Complaint.




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      65.    Defendant Perez denies the allegation of Paragraph 65 of the Amended

Complaint.

      66.    Defendant Perez denies the allegation of Paragraph 66 of the Amended

Complaint.

      67.    Defendant Perez neither admits nor denies the allegation of Paragraph

67 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      68.    Defendant Perez neither admits nor denies the allegation of Paragraph

68 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      69.    Defendant Perez neither admits nor denies the allegation of Paragraph

69 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      70.    Defendant Perez neither admits nor denies the allegation of Paragraph

70 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      71.    Defendant Perez neither admits nor denies the allegation of Paragraph

71 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.




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      72.    Defendant Perez neither admits nor denies the allegation of Paragraph

72 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      73.    Defendant Perez neither admits nor denies the allegation of Paragraph

73 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      74.    Defendant Perez neither admits nor denies the allegation of Paragraph

74 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      75.    Defendant Perez neither admits nor denies the allegation of Paragraph

75 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted. Defendant Perez denies that, if any such costs

were incurred, they were for his benefit.

      76.    Defendant Perez neither admits nor denies the allegation of Paragraph

76 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

      77.    Defendant Perez neither admits nor denies the allegation of Paragraph

77 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.




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      78.    Defendant Perez neither admits nor denies the allegation of Paragraph

78 of the Amended Complaint as it states a legal conclusion rather than presenting

an allegation of fact as required by Federal Rule of Civil Procedure 8(a).

      79.    Defendant Perez denies the allegation of Paragraph 79 of the Amended

Complaint.

      80.    Defendant Perez neither admits nor denies the allegation of Paragraph

80 of the Amended Complaint as he lacks sufficient information to form a belief as

to the truth of the matter asserted.

                     Alleged Wages and Working Conditions

      81-100.       Defendant Perez neither admits nor denies the allegation of

Paragraphs 81-100 of the Amended Complaint as he lacks sufficient information to

form a belief as to the truth of the matter asserted.

        Alleged Facts Unique to the Mexico Plaintiffs (2021 Job Order)

 Alleged Facts Common Among all Plaintiffs (2020-21 and 2021 Job Orders)

      100-118.      Defendant Perez neither admits nor denies the allegation of

Paragraphs 100-118 of the Amended Complaint as he lacks sufficient information

to form a belief as to the truth of the matter asserted.

                        Alleged Human Trafficking Scheme

      119. Defendant Perez denies the allegations of Paragraph 119 of the

Amended Complaint.


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      120. Defendant Perez neither admits nor denies the allegation contained in

Paragraph 120 as it contains social commentary rather than making an allegation of

fact as required by Federal Rule of Civil Procedure 8.

      121. Defendant Perez denies the allegations of Paragraph 121 of the

Amended Complaint.

      122. Defendant Perez denies the allegations of Paragraph 122 of the

Amended Complaint.

      123. Defendant Perez denies the allegations of Paragraph 123 of the

Amended Complaint.

      124. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 124 of the Amended Complaint as he lacks sufficient

information to form a belief as to the truth of the matters alleged.

      125. Defendant Perez denies the allegations of Paragraph 125 of the

Amended Complaint.

      126. Defendant Perez denies the allegations of Paragraph 126 of the

Amended Complaint.

      127. Defendant Perez denies the allegations of Paragraph 127 of the

Amended Complaint.

      128. Defendant Perez denies the allegations of Paragraph 128 of the

Amended Complaint.


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      129. Defendant Perez denies the allegations of Paragraph 129 of the

Amended Complaint.

      130. Defendant Perez denies the allegations of Paragraph 130 of the

Amended Complaint.

      131. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 131 of the Amended Complaint as they relate only to another

Defendant and he lacks sufficient information to form a belief as to the truth of the

matters alleged.

      132. Defendant Perez denies the allegations of Paragraph 132 of the

Amended Complaint.

      133. Defendant Perez denies the allegations of Paragraph 133 of the

Amended Complaint.

      134. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 134 of the Amended Complaint as he lacks sufficient

information to form a belief as to the truth of the matters alleged.

      135. Defendant Perez denies the allegations of Paragraph 135 of the

Amended Complaint.

      136. Defendant Perez denies the allegations of Paragraph 136 of the

Amended Complaint.




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     137. Defendant Perez denies the allegations of Paragraph 137 of the

Amended Complaint.

     138. Defendant Perez denies the allegations of Paragraph 138 of the

Amended Complaint.

     139. Defendant Perez denies the allegations of Paragraph 139 of the

Amended Complaint.

     140. Defendant Perez denies the allegations of Paragraph 140 of the

Amended Complaint.

     141. Defendant Perez denies the allegations of Paragraph 141 of the

Amended Complaint.

                Alleged Facts Common to the Oaxaca Plaintiffs

     142-149.     Defendant Perez denies the allegations of Paragraphs 142-149 of

the Amended Complaint.

     150. Defendant Perez denies the allegations of Paragraph 150 of the

Amended Complaint.

     151. Defendant Perez denies the allegations of Paragraph 151 of the

Amended Complaint.

     152. Defendant Perez denies the allegations of Paragraph 152 of the

Amended Complaint.




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      153. Defendant Perez denies the allegations of Paragraph 153 of the

Amended Complaint.

      154. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 154 of the Amended Complaint as he lacks sufficient

information to form a belief as to the truth of the matters alleged.

      155. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 155 of the Amended Complaint as he lacks sufficient

information to form a belief as to the truth of the matters alleged.

      156. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 156 of the Amended Complaint as he lacks sufficient

information to form a belief as to the truth of the matters alleged.

      157. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 157 of the Amended Complaint as he lacks sufficient

information to form a belief as to the truth of the matters alleged.

      158. Defendant Perez denies the allegations of Paragraph 158 of the

Amended Complaint.

      159. Defendant Perez admits that the conversation to which Paragraph 159

alludes did not include reference to travel documents. Defendant Perez admits that

he advised continuing their employment with others.




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                               The Mexico Plaintiffs

      160-170.      Defendant Perez neither admits nor denies any of the allegations

contained in Paragraphs 160-170 of the Amended Complaint as he lacks sufficient

information to form a belief as to the truth of the matters alleged.

      171. Defendant Perez denies the allegations of Paragraph 171 of the

Amended Complaint.

      172. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 172 of the Amended Complaint because it is legal argument

not an allegation of fact and a response is not required.

                                    VI. CLAIMS

                             Fair Labor Standards Act

      173. Defendant Perez incorporates his responses to Paragraphs 1-172 of the

Amended Complaint as if fully restated herein.

      174. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 174 of the Amended Complaint because it is legal argument

not an allegation of fact and a response is not required.

      175. Defendant Perez denies the allegation of Paragraph 175 of the

Amended Complaint.

      176. Defendant Perez denies the allegation of Paragraph 176 of the

Amended Complaint.


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      177. Defendant Perez denies the allegation of Paragraph 177 of the

Amended Complaint.

      178. Defendant Perez denies the allegation of Paragraph 178 of the

Amended Complaint.

                                     Count II

      179-184.     This Count is not alleged against Defendant Perez. If it is,

Defendant Perez incorporates the above responses and denies any new allegations.

       Count III: Breach of Contract Claims Arising Under State Law

      185. Defendant Perez incorporates his responses to Paragraphs 1-184 of the

Amended Complaint as if fully restated herein.

      186-194.     None of the factual allegations in Paragraphs 186-194 refer

specifically to Defendant Perez and to the extent that he is encompassed in the term

“Defendants”, Defendant Perez denies the allegations.

                  Count IV: Breach of 20 C.F.R. § 655.122(i)

      195-206.     This Count is not alleged against Defendant Perez. If it is,

Defendant Perez incorporates the above responses and denies any new allegations.

                                     Count V

      207. Defendant Perez incorporates his responses to Paragraphs 1-206 of the

Amended Complaint as if fully restated herein.




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      208. Defendant Perez neither admits nor denies any of the allegations

contained in Paragraph 208 of the Amended Complaint because it is legal argument

not an allegation of fact and a response is not required.

      209. Defendant Perez denies the allegation of Paragraph 209 of the

Amended Complaint.

      210. Defendant Perez denies the allegation of Paragraph 210 of the

Amended Complaint.

      211. Defendant Perez denies the allegation of Paragraph 211 of the

Amended Complaint.

      212. Defendant Perez denies the allegation of Paragraph 212 of the

Amended Complaint.

                              Count VI and Count VII

      213-226.       These Counts are not alleged against Defendant Perez. If they

are, Defendant Perez incorporates the above responses and denies any new

allegations.

                                    DEFENSES

      1.       The listing of a defense in this section shall not be construed as an

admission that Defendant bears the burden of proof as to that defense, i.e., that the

defense is an “affirmative defense.” The Federal Rules of Civil Procedure require a

statement of defenses, not just affirmative, in the Answer.


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      2.     Defendant Perez generally denies that Plaintiffs can prove every

element of every cause of action by a preponderance of the evidence. Defendant

Perez therefore defends on the ground that the facts which Plaintiffs can prove do

not support a verdict against him on any cause of action.

      3.     Defendant Perez generally defends on the ground that the Amended

Complaint fails to state a claim upon which relief can be granted and that he would

not be liable even if Plaintiffs could prove all the alleged facts by a preponderance

of the evidence.

      4.     Defendant Perez does not consent to the amendment of the Amended

Complaint. In particular, his decision to litigate a particular issue or set of issues

does not constitute implied consent to the trial of those issues under Federal Rule of

Civil Procedure 15. Defendant Perez reserves the right to object to any attempt to

inject new claims and require that Plaintiff obtain leave to amend from the Court so

long as objection is made before the entry of a Pre-Trial Order.

      5.     Defendant Perez states that he has been named a defendant in an

ongoing criminal prosecution involving the Canela defendants and the same general

circumstances alleged in the Complaint. Plaintiff has filed this civil action under 18

U.S.C. § 1595(a). 18 U.S.C. 1595(b)(1) provides: “Any civil action filed under

subsection (a) shall be stayed during the pendency of any criminal arising out of the




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same occurrence in which the claimant is the victim.” Because this action under 18

U.S.C. § 1595(a) from its cognate theories of liability, this action “shall be” stayed.

      6.     Defendant Perez suggests that this Court lacks statutory subject matter

jurisdiction. The gravamen of the Complaint is that Defendants violated numerous

regulations related to the H-2A Program and are liable to Plaintiffs upon a breach of

contract theory under Georgia law. However, 29 C.F.R. Part 501 – “Enforcement of

Contractual Obligations” – places enforcement authority exclusively in the Wage

and Hour Division of the Department of Labor (except for one instance in which it

is shared with the Office of Foreign Labor Certification of the Employment and

Training Administration of the Department of Labor). Because the specific

jurisdictional provision represents Congress’ allocation of statutory subject matter

jurisdiction, this Court lacks statutory subject matter jurisdiction. It may also lack

Article III subject matter jurisdiction.

      7.     Plaintiffs fail to state a claim upon which relief may be granted. The

Amended Complaint alleges that Gumara and Daniel Canela employed Plaintiffs.

Each of the causes of action requires Plaintiffs to prove by a preponderance of the

evidence that Defendant Perez employed each of them. For this reason, among many

others (all of which are reserved), Plaintiffs have not stated a claim upon which relief

may be granted.




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      8.     Defendant Perez intended to respond to each allegation of the Amended

Complaint. If there is an allegation to which he did not respond, Defendant Perez

denies that allegation and reserves the right to state an answer more specifically if

he so chooses.

      9.     Plaintiffs Elizabeth Canales-Centeno, Sara Canales-Centeno, Ibragit

Cortes-Almanza, and Jesus Garcia-Canales do not allege any claims against

Defendant Perez. The Court therefore lacks subject matter jurisdiction under Article

III of the Constitution since they do not allege an injury, a causal link between

Defendant Perez’ actions and such alleged injury, or that the injury is redressable.

      10.    Defendant Perez states that the claims against him should be severed,

pursuant to Federal Rule of Civil Procedure 42(b), from the Amended Complaint.

The Plaintiffs who assert claims against Defendant Perez should be specifically

identified and they should be directed to file a new Complaint against Defendant

Perez specifically.

      11.    Based on the Amended Complaint, Defendant Perez states that the time

relevant to this proceeding began on or about December 5, 2020.

      12.    Defendant Perez states that some or all of the claims against him may

be barred by an applicable statute of limitations such as 29 U.S.C. § 255 or the

statutes of limitations applicable to other claims.




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      13.    Defendant Perez objects that the Amended Complaint violates Federal

Rule of Civil Procedure 8(b) because it does not provide a short and plain statement

of the claims, if any, against him. Throughout its 226 paragraphs, the Amended

Complaint alleges claims on behalf of three different groups of Plaintiff (with some

overlap): the Mexico Plaintiffs, the Marin Plaintiffs, and the Oaxaca Plaintiffs. It

appears that all of the Marin Plaintiffs are Oaxaca Plaintiffs. It also seems that the

Marin Plaintiffs and the Oaxaca Plaintiffs are all Mexico Plaintiffs. This method of

pleading leaves Defendant Perez confused as to what people are asserting what

claims, if any (since at least four Mexico Plaintiffs are not asserting any claims

against him). What is worse is that the Amended Complaint repeatedly makes

allegations against “defendants” without specifying which defendants. “Defendants”

is compatible with Defendants Gumara and Daniel Canela as well as with Defendant

Perez and Defendant Daniel Canela or Defendant Gumara Canela and Defendant

Perez. In short, Defendant Perez does not know which factual allegations are really

directed towards him. Rule 8(b) requires Plaintiffs to present Defendant Perez with

a “short and plain statement of the claim showing that the pleader is entitled to relief”

against him. See Fed. R. Civ. P. 8(b). Plaintiffs did not and the Amended Complaint

violates Rule 8(b).




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      WHEREFORE, having fully answered the Complaint of the Plaintiffs,

Defendant Ismael Perez prays that all claims asserted against him in this action be

dismissed forthwith, that all costs of Court be cast upon the Plaintiffs.

      This 4th day of March, 2022.

                                        Respectfully Submitted,

                                        BRENNAN & WASDEN, LLC

                                        By:/s/ William E. Dillard, III
                                          William E. Dillard, III
                                          Georgia Bar No. 222030
                                          Attorney for Ismael Perez
Post Office Box 8047
Savannah, Georgia 31412
bdillard@brennanwasden.com
912-232-6700
912-232-0799 (facsimile)




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                         CERTIFICATE OF SERVICE

      I, William E. Dillard, III, the undersigned counsel for Ismael Perez, do hereby

that I have this day served the following counsel of record with a copy of Answer

and certify Defenses of Defendant Ismael Perez, via electronic filing and email

addressed as follows:

                        Juan Alberto Barragan-Rangel
                        Solimar Mercado-Spencer
                        Lisa J. Krisher
                        Georgia Legal Services Program
                        104 Marietta Street NW, Suite 250
                        Atlanta, GA 30303
                        jbarragan@glsp.org
                        smercado-spencer@glsp.org
                        lkrisher@glsp.org
                        Attorneys for Plaintiffs


      This 4th day of March, 2022.

                                      BRENNAN & WASDEN, LLC


                                      By: /s/ William E. Dillard, III
                                        William E. Dillard, III
                                        Georgia Bar No. 222030
                                        Attorney for Ismael Perez

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